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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   CASE NO. 2:08-CR-0554 WBS
                                           )
12                    Plaintiff,           )   ORDER TO DISMISS INDICTMENT
                                           )
13       v.                                )
                                           )
14   SABRINA MARIE BUCHER,                 )
                                           )
15                    Defendant.           )
                                           )
16                                         )
17        Based on the government’s motion, it is hereby ordered that the
18   Indictment in Case Number 08-554 as to Sabrina Marie Bucher be
19   dismissed with prejudice.
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21   DATED: May 24, 2011
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